
IN RE: Grant, Nolan; — Plaintiff(s); Applying for Supervisory and/or Remedial Writs; Parish of Jefferson 24th Judicial District Court Div. “A” Number 85-3099; to the Court of Appeal, Fifth Circuit, Number 98-KH-1130, 99-KH-127.
Relator represents that the district court has failed to act timely on an application for post conviction relief he filed on or about June 10, 1998. If relator’s representation is correct, the district court is ordered to consider and act on the application. If relator’s representation is incorrect, the district court is ordered to accept, file, and act upon the pleading which is herewith transferred to the district court. The district court is ordered to provide this Court with a copy of its judgment.
JOHNSON, J. not on panel.
